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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

        v.                               Case No. 21-cr-00035-RC-2

PETER STAGER

                      WITHDRAWAL OF APPEARANCE

To the Clerk of the Court:

     Please remove my name as counsel in this case as Mr. Stager

has retained counsel.


                                        Respectfully submitted,


                                        /s/ Richard S. Stern
                                        _____________________________
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                                        Email: rssjrg@rcn.com

                        CERTIFICATE OF SERVICE

     I hereby electronically served all parties in this case on
October 25, 2022.


                                        /s/ Richard S. Stern
                                        ________________________
                                        RICHARD S. STERN




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